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Case: 1:08-cr-00746 Document #: 1029 Filed: 09/29/11 Page 2 of 13 PageID #:4303
Case: 1:08-cr-00746 Document #: 1029 Filed: 09/29/11 Page 3 of 13 PageID #:4304
Case: 1:08-cr-00746 Document #: 1029 Filed: 09/29/11 Page 4 of 13 PageID #:4305
Case: 1:08-cr-00746 Document #: 1029 Filed: 09/29/11 Page 5 of 13 PageID #:4306
Case: 1:08-cr-00746 Document #: 1029 Filed: 09/29/11 Page 6 of 13 PageID #:4307
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Case: 1:08-cr-00746 Document #: 1029 Filed: 09/29/11 Page 9 of 13 PageID #:4310
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